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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, : Criminal No. 14-cr

v. UNDER SEAL
BENJAMIN ZALMAN-POLUN,
Defendant.
GOVERNMENT’S MOTION TO SEAL ALL PLEADINGS AND FILINGS AND TO
SEAL THE COURTROOM FOR ALL PROCEEDINGS

The United States, by and through its attorney, the United States Attorney for the District
of Columbia, respectfully submits this motion to seal the accompanying Criminal Information,
and all other pleadings and filings, and to seal the courtroom for all proceedings. In support of
this motion, the government states as follows:

The defendant in this case has agreed to enter a plea of guilty to a Criminal Information
charging Conspiracy to Distribute and Possess with Intent to Distribute Less Than 50 Kilograms
of Marijuana, in violation of 21 U.S.C. § 846. As part of his plea agreement, the defendant has
agreed to cooperate with the government in the investigation and prosecution of others. His
cooperation may include arranging introductions of undercover law enforcement agents to
narcotics suppliers and providing testimony in the Grand Jury and at other judicial proceedings.
It may lead to criminal charges being filed against individuals for narcotics violations.

In United States v. Hubbard, 650 F.2d 293, 317 (D.C. Cir. 1990), the District of

Columbia Circuit addressed whether documents seized from a third party during a search warrant
and later introduced under seal at a pretrial suppression hearing should be made available to the

public. Id. at 295. The Court first weighed the public interest in access to the documents against
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the third party’s interests. Id. at 317. It referred to these “competing interests” as “the
‘generalized interests’ at stake.” Id. The Court’s “generalized interests” analysis did not
consider the specific contents of the documents. Id.

The Court analyzed the following six factors in its assessment of the generalized
interests: (1) the need for public access to the documents; (2) public use of the documents; (3)
fact of objection and identity of those objecting to disclosure; (4) strength of the generalized
property and privacy interest asserted; (5) possibility of prejudice; and (6) the purposes for which
the documents were introduced. After the District of Columbia Circuit assessed the “generalized
interests” in public disclosure, it considered whether “particularized factors” weigh for or against
public access to the documents. Id. at 322-23.

Based on the nature of the government’s ongoing criminal investigation being conducted
by the Drug Enforcement Administration, the government submits that public disclosure of the
defendant’s cooperation would likely compromise this ongoing criminal investigation by: (1)
placing the personal safety of the cooperating defendant, undercover agents, other law
enforcement officials, and innocent third parties at substantial risk; (2) alerting potential targets
of the investigation; (3) causing the cooperating defendant to be reluctant to continue his
cooperation; (4) causing prospective witnesses, including the cooperating defendant, to be
deterred from testifying or to be less likely to provide truthful testimony to the grand jury; and
(5) causing potential witnesses and targets to destroy documents and other evidence.

Individuals involved in the distribution of illegal narcotics often engage in violent acts
against individuals or their family members if they are believed to be cooperating with the
government. It is common practice for individuals associated with drug organizations to check

the court’s public record to ascertain whether the government has filed any pleadings under seal
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in cases against associates and suspected cooperators. It is common knowledge to criminal
organizations operating in this city that the docketing of a motion to seal a plea agreement or the
filing of sealed pleadings in a criminal case signals the fact that the charged defendant has agreed
to cooperate with law enforcement. Consequently, public notice of the sealed pleadings is likely
to compromise any ongoing or future investigation and present a substantial risk to the personal
safety of cooperating individuals, undercover agents, other law enforcement officials taking part
in the covert investigation, and, in some cases, innocent bystanders. Accordingly, the
government submits that these particularized factors outweigh the “generalized interest” in
public disclosure under Hubbard.

Robert C. Bonsib, counsel for the defendant, has advised the undersigned attorney that
the defendant consents to the granting of this motion and the entry of the attached order.

WHEREFORE, for the foregoing reasons and for any other such reasons as may appear

to the Court, the government respectfully requests that this motion be granted.

Respectfully submitted,

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United States Attorney
D.C. Bar No. 447889

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/s/ Anthony Saler

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